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                                                 U.S. Department of Justice
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                                                 June 12, 2025

Mr. Clifton Cislak
Clerk of the Court
U.S. Court of Appeals for the
   District of Columbia Circuit
E. Barrett Prettyman U.S. Courthouse
333 Constitution Avenue N.W.
Washington, DC 20001

       Re:     Doe v. Bondi, Nos. 25-5099, 25-5213; Jones v. Bondi, Nos. 25-5101,
               25-5210; Moe v. Trump, Nos. 25-5108

Dear Mr. Cislak:

       I write to inform the Court that I am withdrawing my appearance as counsel
in the above-captioned cases because I am leaving the Department of Justice as of
June 13. The government will continue to be represented by the remaining counsel
who have appeared.

                                        Respectfully submitted,

                                        /s/ Gerard Sinzdak
                                        Gerard Sinzdak
cc:    Counsel of record (via CM/ECF)
